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                                                  January 4, 2022
VIA ECF and E-Mail
Hon. Judge J. Paul Oetken
United States District Court, Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007
Courtroom 706

       Re:     Piaggio Group Americas, Inc. v. Mach 1 Global Services, Inc.
               Case No. 1:21-cv-09926-JPO

Dear Judge Oetken:

        This law firm represents Defendant Mach 1 Global Services, Inc. (“Defendant”) in the
above-captioned matter. Defendant submits this letter motion for leave to file the Transportation
Management Agreement between Plaintiff Piaggio Group Americas, Inc. (“Plaintiff”) and
Defendant (the “Agreement”) under seal in connection with Defendant’s forthcoming response to
Plaintiff’s Complaint, presently due on January 10, 2022.

       As the Court is aware, Plaintiff’s Complaint asserts a cause of action for breach of the
Agreement. Plaintiff selectively quotes, but does not attach, the full Agreement. The Agreement
also contains a confidentiality provision, which requires both Plaintiff and Defendant to keep all
provisions of the Agreement confidential, absent consent of the other party. Plaintiff has already
quoted and referenced selective portions of the Agreement in its Complaint, and Defendant
therefore assumes that Plaintiff is willing to consent to the disclosure of the Agreement. Moreover,
having placed the Agreement at issue by bringing a breach of contract claim thereunder, Plaintiff
effectively consents to disclosure of the Agreement. Defendant agrees that disclosure of the
Agreement is certainly necessary for the purposes of this litigation.

        Nonetheless, Defendant seeks leave to file the eight (8) page Agreement under seal because
it contains information that is confidential and proprietary to Defendant, including, but not limited
to, pricing and service terms. Understandably, the terms of the Agreement are commercially
sensitive, as access to what Defendant offers and charges its customers would provide its
competitors with a commercial advantage. Defendant’s interest in protecting this commercially
sensitive information substantially outweighs any interest on the part of the public in accessing
this information. Further, Defendant’s request is narrowly tailored to seal only the eight (8) page
Agreement itself. Thus, Defendant respectfully requests that the Court allow Defendant to file the
Agreement under seal in connection with its forthcoming response to the Complaint and for all
other uses in this litigation.

      Per Your Honor’s Individual Rules and Practices, Defendant contemporaneously files the
Agreement (attached hereto as Exhibit 1) under seal on ECF, with the appropriate level of


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restriction and in accordance with Standing Order 19-MC-583 and Section 6 of the SDNY
Electronic Case Filing Rules and Instructions.

       We thank the Court for its time and attention to this matter.

                                                 Respectfully submitted,

                                                 BENESCH, FRIEDLANDER,
                                                  COPLAN & ARONOFF LLP

                                                 /s/ Marc S. Blubaugh

                                                 Marc S. Blubaugh

cc: Adam M. Levy, Esq. (via e-mail and ECF)
    Edward C. Wipper, Esq. (via e-mail and ECF)
    Deana S. Stein, Esq. (via e-mail and ECF)
